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                          Case No. 24-12311-J

         IN THE UNITED STATES COURT OF APPEALS
                 FOR THE ELEVENTH CIRCUIT


                  UNITED STATES OF AMERICA,
                           Appellant,

                                    v.

     DONALD J. TRUMP, WALTINE NAUTA, and CARLOS DE
                        OLIVEIRA
                   Defendants-Appellees


           On appeal from the United States District Court
                 for the Southern District of Florida
                  Case No. 23-80101-CR-CANNON


       BRIEF OF AMICI CONSTITUTIONAL LAWYERS,
      FORMER GOVERNMENT OFFICIALS, AND STATE
      DEMOCRACY DEFENDERS ACTION SUPPORTING
       APPELLANT UNITED STATES OF AMERICA AND
               REVERSAL OF JUDGMENT


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            CORPORATE DISCLOSURE STATEMENT

     State Democracy Defenders Action (“SDDA”) submits this

corporate disclosure statement pursuant to Federal Rules of Appellate

Procedure 26.1 and 29 and 11th Circuit Rule 26.1-2. SDDA is a non-

profit organization that has no parent company. It has issued no stock,

and as such no person or entity owns ten percent or more of its stock.

           CERTIFICATE OF INTERESTED PERSONS

     A list of the amici is attached hereto. Undersigned counsel for

amici certifies that neither amici nor counsel for amici have a parent

corporation, and no company owns a ten percent or greater interest in

amici or counsel for amici. Pursuant to 11th Circuit Rule 26.1-1(b), the

undersigned further certifies that the above information will be entered

into the web-based stock ticker symbol CIP, indicating that there is

nothing to declare.

     Pursuant to Federal Rule of Appellate Procedure 26.1 and 11th

Circuit Rules 26.1-1 and 26.1-2, and based on the Certificate of

Interested Persons set forth on pages C-1 to C-7 of the Brief of the

United States filed on August 26, 2024 [doc. 18], the undersigned




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hereby certifies that the following is a list of persons and entities who

have an interest in the outcome of this case:

     1. Advance Publications, Inc.

     2. Alonso, Cristina

     3. America First Legal Foundation

     4. American Broadcasting Companies, Inc., d/b/a ABC News

     5. Ayer, Donald

     6. Blackman, Joshua

     7. Blanche, Todd

     8. Bloomberg, L.P.

     9. Bove, Emil

     10.   Bowman, Chad

     11.   Bratt, Jay

     12.   Cable News Network, Inc.

     13.   Calabresi, Steven

     14.   Caldera, Louis

     15.   Cannon, Hon. Aileen

     16.   Cate, Matthew

     17.   CBS Broadcasting, Inc. o/b/o CBS News



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     18.   Citizens for Responsibility and Ethics in Washington

     19.   Citizens United

     20.   Citizens United Foundation

     21.   CMG Media Corporation

     22.   Coleman, Tom

     23.   Conway, George

     24.   Cooney, J.P.

     25.   Cox Enterprises, Inc. (COX) d/b/a The Atlanta Journal-

           Constitution

     26.   Dadan, Sasha

     27.   De Oliveira, Carlos

     28.   Dow Jones & Company, Inc., publisher of The Wall Street

           Journal

     29.   Dreeben, Michael

     30.   Edelstein, Julie

     31.   Fields, Lazaro

     32.   Fitzgerald, Patrick

     33.   Fort Myers Broadcasting Company

     34.   Gerson, Stuart



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     35.   Gertner, Nancy

     36.   Gillers, Stephen

     37.   Goodman, Hon. Jonathan

     38.   Gray Media Group, Inc. (GTN)

     39.   Guardian News & Media Limited

     40.   Harbach, David

     41.   Hirsch, Steven A.

     42.   Hulser, Raymond

     43.   Insider, Inc.

     44.   Irving, John

     45.   Kise, Christopher

     46.   Lacovara, Philip Allen

     47.   Landmark Legal Foundation

     48.   Lawson, Gary

     49.   Los Angeles Times Communications LLC, publisher of The

           Los Angeles Times

     50.   Maynard, Hon. Shaniek Mills

     51.   McKay, John

     52.   McNamara, Anne



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     53.   Meese, Edwin

     54.   Mishkin, Maxwell

     55.   Mukasey, Hon. Michael B.

     56.   Murrell, Larry Donald

     57.   National Cable Satellite Corporation d/b/a C-SPAN

     58.   National Public Radio, Inc.

     59.   Nauta, Waltine

     60.   NBCUniversal Media, LLC d/b/a NBC News, a subsidiary of

           Comcast Corporation (CMCSA)

     61.   Orlando Sentinel Media Group, publisher of the Orlando

           Sentinel

     62.   Pearce, James

     63.   Pellettieri, John

     64.   POLITICO LLC

     65.   Potter, Trevor

     66.   Radio Television Digital News Association

     67.   Raul, Alan Charles

     68.   Reinhart, Hon. Bruce E.

     69.   Reuters News & Media, Inc.



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     70.   Russell, Lauren

     71.   Salario, Samuel

     72.   Sample, James J.

     73.   Sasso, Michael

     74.   Schaerr, Gene

     75.   Seligman, Matthew

     76.   Smith, Abbe

     77.   Smith, Fern

     78.   Smith, Jack

     79.   State Democracy Defenders Action

     80.   Sun-Sentinel Company, LLC, publisher of the South Florida

           Sun Sentinel

     81.   TEGNA, Inc. (TGNA)

     82.   Telemundo Network Group, LLC d/b/a Noticias Telemundo

     83.   Thakur, Michael

     84.   The Associated Press

     85.   The E.W. Scripps Company (SSP)

     86.   The McClatchy Company, LLC (MNI) d/b/a the Miami

           Herald



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     87.   The New York Times Company (NYT)

     88.   The Palm Beach Post and USA TODAY, publications

           operated by subsidiaries of Gannett Co., Inc. (GCI)

     89.   Thompson, Larry

     90.   Tillman, Seth Barrett

     91.   Tobin, Charles

     92.   Torres, Hon. Edwin

     93.   Trent, Edward H.

     94.   Tribe, Laurence

     95.   Troye, Olivia

     96.   Trump, Donald J.

     97.   Trusty, James

     98.   Twardy, Stanley

     99.   United States of America

     100. Univision Networks & Studios, Inc.

     101. VanDevender, Cecil

     102. Weiss, Stephen

     103. Weld, William

     104. Wharton, Kendra



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     105. Whitman, Christine Todd

     106. Woodward, Stanley

     107. WP Company LLC d/b/a The Washington Post

     108. WPLG, Inc.



                                  Respectfully submitted,

Dated: September 3, 2024



                                  /s/Matthew A. Seligman
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                                  mseligman@stris.com

                                  Counsel for Amici




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         STATEMENT OF INTEREST OF AMICI CURIAE1

     Amici are former prosecutors, elected officials, other government

officials, constitutional lawyers, and a non-profit organization who have

collectively spent decades defending the Constitution, the interests of

the American people, and the rule of law. As such, amici have an

interest in the proper scope of executive power and the faithful

enforcement of criminal laws enacted by Congress. Pursuant to Federal

Rule of Appellate Procedure 29 and Eleventh Circuit Rules 29-1 and 29-

2, amici respectfully submit this brief to reinforce why the appointment

of the Special Counsel is consistent with the Appointments Clause of

the Constitution and the statutes Congress has enacted pursuant to

that constitutional provision. Accordingly, the Court should reject

Defendant Donald J. Trump’s contention that the appointment of

Special Counsel John “Jack” Smith is unlawful and reverse the decision

below.



1
 No party’s counsel authored this brief in whole or in part; no party or
party’s counsel contributed money that was intended to fund preparing
or submitting this brief; and no person—other than the amici curiae,
their members, or their counsel—contributed money that was intended
to fund preparing or submitting this brief.




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                     STATEMENT OF THE ISSUE

     Is the Special Counsel lawfully appointed consistent with the

Appointments Clause of the Constitution and federal law?

                  SUMMARY OF THE ARGUMENT

     The Appointments Clause of the Constitution authorizes Congress

to vest the power to appoint “inferior officers” in the Attorney General

as the head of the Department of Justice. U.S. Const. art. II, § 2, cl. 2.

As the Supreme Court has confirmed, a special prosecutor empowered

to investigate and prosecute a particular criminal matter is such an

inferior officer. See Morrison v. Olson, 487 U.S. 654, 670-71 (1988);

United States v. Nixon, 418 U.S. 683, 694 (1974). Congress, in turn,

exercised that power under the Appointments Clause by vesting the

Attorney General with the power to “appoint officials . . . to detect and

prosecute crimes against the United States.” 28 U.S.C. § 533. Attorney

General Merrick Garland, acting pursuant to that statutory authority

and consistent with the Department of Justice’s regulations, then

appointed Special Counsel Smith to “conduct the ongoing investigation

referenced and described in the United States’ Response to Motion for

Judicial Oversight and Additional Relief, Donald J. Trump v. United



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States, No. 9:22-CV-81294-AMC (S.D. Fla. Aug. 30, 2022).” Office of the

Att’y Gen., Order No. 5559-2022, Appointment of John L. Smith as

Special Counsel, ¶ (c) Nov. 18, 2022 (“Appointment Order”). The

Constitution, the statutes enacted by Congress to exercise the power the

Constitution confers, and the Attorney General’s appointment pursuant

to that constitutional and statutory authority unmistakably establish

the lawfulness of Special Counsel Smith’s appointment.

     The district court’s contrary conclusion was incorrect. Both the

district court and apparently Mr. Trump recognize that the Special

Counsel qualifies as an inferior officer and thus that the Attorney

General could, consistent with the Constitution, appoint Special

Counsel Smith if Congress had vested him with that power. The district

court held, however, that Congress had not done so and therefore Mr.

Smith’s appointment was unlawful. That conclusion defies the plain

text of Section 533, which unambiguously authorizes the Attorney

General to “appoint . . . officials” like the Special Counsel to “prosecute

crimes against the United States.” 28 U.S.C. § 533. To reach its outlier

interpretation, the district court ignored the statute’s plain text to hold

that “officials” does not include “officers” like the Special Counsel, and it



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defied the commands of Congress in its enacting legislation to hold that

Section 533 authorizes the appointment of officials only to the Federal

Bureau of Investigation.

     If this Court reverses the district court, as amici urge, it will mark

the second time it was called upon to correct the district court’s grave

errors in this case. Those reversals do not reflect typical differences of

opinion among courts and judges. The district court’s decision rejecting

the lawfulness of the Special Counsel’s appointment, in clear defiance of

binding Supreme Court precedent and the plain text of Congress’s

statutes, falls far outside the range of reasonable judicial decision-

making. And before an indictment in this case was even filed, this Court

reversed Judge Cannon’s extraordinary intervention into the

government’s criminal investigation that ultimately led to this

prosecution. As this Court explained, “[t]he law is clear” and the district

court’s unprecedented approach would work “a radical reordering of [its]

caselaw limiting the federal courts’ involvement in criminal

investigations” and would “violate bedrock separation-of-powers

limitations.” Trump v. United States, 54 F.4th 689, 701 (11th Cir. 2022)

(per curiam).



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       This pattern of unsupportable decisions, along with the district

 court’s inexplicable handling of procedural matters in this case, makes

 clear that Judge Cannon “has engaged in conduct that gives rise to the

 appearance of . . . a lack of impartiality in the mind of a reasonable

 member of the public.” United States v. Torkington, 874 F.2d 1441, 1446

 (11th Cir. 1989). Amici therefore urge this Court, in addition to

 reversing the decision below, to exercise its supervisory authority under

 28 U.S.C. § 2106 to reassign the matter to another district judge on

 remand.

           ARGUMENT AND CITATIONS TO AUTHORITY

I.   The Special Counsel is an Inferior Officer Under the
     Appointments Clause

       The district court “accept[ed] the Special Counsel’s contested view

 that he qualifies as an ‘inferior Officer,’ not a ‘principal’ one” “based on

 the available Supreme Court guidance.” Op. at 2, 4. Mr. Trump did not

 argue before the district court that the Special Counsel is a principal

 officer. See Trump MTD at 1-6.2 By “fail[ing] to raise this argument



 2
  Mr. Trump’s position before the district court was unclear and
 internally inconsistent. On the one hand, he claimed that “[a]t best” the
 Special Counsel is “an employee.” Trump Br. at 3. But then he stated
 that “[t]he Special Counsel’s Office does not dispute that the Special

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below,” he “thus waived the right to raise th[e] argument on appeal

‘absent plain error.’” Teel v. Lozada, 99 F.4th 1273, 1287 (11th Cir.

2024) (quoting United States v. Culver, 598 F.3d 740, 749 n.5 (11th Cir.

2010)).3 And this Court “will not consider arguments raised only by

amici.” Stanley v. City of Sanford, Fla., 83 F.4th 1333, 1344 (11th Cir.

2023) (quoting Richardson v. Ala. State Bd. of Educ., 935 F.2d 1240,

1247 (11th Cir. 1991)), cert. granted sub nom. Stanley v. City of Sanford,

No. 23-997 (U.S. June 24, 2024). The district court nonetheless

“expresse[d] reservations” about the Special Counsel’s status as an

inferior officer, finding “compelling arguments in favor of a principal-

officer designation given the regulatory framework under which he

operates.” Op. at 2, 4. Moreover, the district court appeared to suggest

(contrary to fact) that Mr. Trump had so argued4 and “elect[ed] . . . to



Counsel is an ‘officer’ of the United States.” Trump Reply Br. at 1.
Nowhere did he argue that the Special Counsel is a principal, rather
than inferior, officer.
3
 Every court to have addressed the issue, including the Supreme Court,
has held that special prosecutors like the Special Counsel are inferior
officers. See infra. It cannot be plain error to concur with that
unanimous consensus.
4
 See Op. at 5 (“The Motion argues that his appointment violates the
Appointments Clause for two basic reasons: (1) Special Counsel Smith
was not nominated by the President or confirmed by the Senate, as

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leave the matter for review by higher courts.” Op. at 68. Accordingly,

out of an abundance of caution, amici explain why the district court’s

“reservations” were misplaced: the Special Counsel is without question

an inferior officer.

      The Appointments Clause of the Constitution empowers Congress

to authorize the Attorney General, as the head of the Department of

Justice, to appoint inferior officers such as the Special Counsel. The

Appointments Clause establishes the framework for the appointment of

“Officers of the United States”:

      [The President] shall nominate, and by and with the Advice and
      Consent of the Senate, shall appoint Ambassadors, other public
      Ministers and Consuls, Judges of the Supreme Court, and all
      other Officers of the United States, whose Appointments are not
      herein otherwise provided for, and which shall be established by
      Law: but the Congress may by Law vest the Appointment of such
      inferior Officers, as they think proper, in the President alone, in the
      Courts of Law, or in the Heads of Departments.

U.S. Const., art. II, § 2 (emphasis added).




would be required for the appointment of a principal officer or for the
appointment of an inferior officer as to which Congress has not
authorized such appointment, and (2) even accepting the position that
he qualifies as an inferior officer, none of the statutes cited in the
Appointment Order vests the Attorney General with [that] authority.”)
(citations omitted).


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      The Clause thus provides that the President must appoint

“principal officers” with the advice and consent of the Senate, but

Congress may vest the power to appoint “inferior officers” in the

President alone without the Senate’s consent, the federal courts, or the

head of a department like the Attorney General. Morrison, 487 U.S. at

670-71 (quoting Buckley v. Valeo, 424 U.S. 1, 132 (1976)). The Special

Counsel, to a much greater degree than the Independent Counsel before

him, “clearly falls on the ‘inferior officer’ side of th[e] line” between

principal and inferior officers. Morrison, 487 U.S. at 671. See also In re

Grand Jury, 916 F.3d 1047, 1052 (D.C. Cir. 2019) (“Binding precedent

instructs that Special Counsel Mueller is an inferior officer under the

Appointments Clause.”). Although the Supreme Court’s “cases have not

set forth an exclusive criterion for distinguishing between principal and

inferior officers [under the] Appointments Clause,” Edmond v. United

States, 520 U.S. 651, 661 (1997), every factor the Court has considered

weighs in favor of the Special Counsel’s status as an inferior officer.

      First, the Special Counsel may “perform only certain, limited

duties” with jurisdiction circumscribed to the “investigation and, if

appropriate, prosecution for certain federal crimes.” Morrison, 487 U.S.



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at 671. Department of Justice regulations provide for the appointment

of a Special Counsel when the “criminal investigation of a person or

matter is warranted.” 28 C.F.R. § 600.1 (emphasis added). Attorney

General Garland’s Appointment Order accordingly limited the Special

Counsel’s jurisdiction to two incidents: the “investigation into whether

any person or entity violated the law in connection with efforts to

interfere with the lawful transfer of power following the 2020

presidential election or the certification of the Electoral College vote

held on or about January 6, 2021,” excluding “investigations and

prosecutions of individuals for offenses they committed while physically

present on the Capitol grounds”; and “the ongoing investigation” into

Mr. Trump’s retention of documents at issue in this case. Appointment

Order at ¶¶ (b)-(c). The Special Counsel may not exceed those strict

boundaries without express authorization by the Attorney General for

“additional jurisdiction beyond that specified in his or her original

jurisdiction” that he maintains is “necessary in order to fully investigate

and resolve the matters assigned, or to investigate new matters that

come to light in the course of his . . . investigation.” 28 C.F.R. § 600.4(a)-

(b). In the course of his investigation and prosecution, he must “comply



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with the rules, regulations, procedures, practices and policies of the

Department of Justice,” including “required review and approval

procedures by the designated Departmental component[s],” 28 C.F.R.

§ 600.7(a). As a result, his “grant of authority does not include any

authority to formulate policy for the Government or the Executive

Branch, nor does it give [him] any administrative duties outside of

those necessary to operate [his] office.” Morrison, 487 U.S. at 671-72.

These express limitations reflect the narrow scope of the task assigned

to the Special Counsel by the Attorney General: to investigate and, if

necessary, prosecute crimes arising from two specific incidents related

to the conduct of a single individual.

     Second, the Special Counsel’s tenure is limited to the performance

of those narrow duties within that circumscribed jurisdiction. Once his

investigation and prosecution of the cases arising from the two

incidents enumerated in the Appointment Order is completed, his office

expires. “Unlike other prosecutors, [the Special Counsel] has no ongoing

responsibilities that extend beyond the accomplishment of the mission

that she was appointed for and authorized by the [the Attorney

General] to undertake.” Morrison, 487 U.S. at 672. His office is thus



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“‘temporary’ in the sense that an independent counsel is appointed

essentially to accomplish a single task, and when that task is over, the

office is terminated, either by the counsel [himself] or by action of the

[Attorney General].” Id. See also Edmond, 520 U.S. at 661 (Scalia, J.)

(holding judges of Coast Guard Court of Criminal Appeals to be inferior

officers even though “the office of military judge . . . is not ‘limited

tenure’”). Cf. Lucia v. SEC, 585 U.S. 237, 247-48 (2018) (holding

Securities Exchange Commission’s administrative law judges to be

inferior officers rather than mere employees in part because, “far from

serving temporarily or episodically,” they held “a continuing office

established by law” that was a “career appointment”) (cleaned up).

      Third, the Special Counsel is subject to oversight, control, and

ultimately removal by the Attorney General. An inferior officer is

“directed and supervised at some level by others who were appointed by

Presidential nomination with the advice and consent of the Senate.”

Edmund, 520 U.S. at 663 (emphasis added). See also Free Enter. Fund

v. Pub. Co. Accounting Oversight Bd., 561 U.S. 477, 510 (2010)

(“Whether one is an inferior officer depends on whether he has a

superior.”) (quotation marks omitted). “The Special Counsel regulations



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[] make clear that the Special Counsel remains subject to the Attorney

General’s oversight following the Special Counsel’s appointment,

notwithstanding the specific grant of original jurisdiction.” United

States v. Manafort, 321 F. Supp. 3d 640, 654 (E.D. Va. 2018). The

regulations pursuant to which Attorney General Garland appointed the

Special Counsel emphasize “that ultimate responsibility for the matter

and how it is handled will continue to rest with the Attorney General.”

Office of Special Counsel, 64 Fed. Reg. 37,038-01, 37,038 (July 9, 1999).

Although the Special Counsel, like many other prosecutors, “shall not

be subject to the day-to-day supervision of any official of the

Department,” 28 C.F.R. § 600.7(b), the regulations ensure that the

Attorney General retains ultimate oversight over major investigatory or

prosecutorial steps. The Special Counsel must “notify the Attorney

General of events in the course of his . . . investigation in conformity

with the Departmental guidelines with respect to Urgent Reports,” 28

C.F.R. § 600.8(b), which require, among other things, advance reports of

“major developments in significant investigations and litigation.”

Justice Manual § 1-13.100. The Special Counsel must “consult directly

with the Attorney General” for authorization if he “conclude[s] that the



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extraordinary circumstances of any particular decision would render

compliance with required review and approval procedures by the

designated Departmental component [to be] inappropriate.” 28 C.F.R.

§ 600.7(a).

     That oversight extends to concrete investigatory and prosecutorial

actions. The Special Counsel must “provide an explanation for any

investigative or prosecutorial step” to the Attorney General upon

request. Id. § 600.7(b). And the Special Counsel’s prosecutorial decisions

are not final, because the Attorney General may block any action he

determines “is so inappropriate or unwarranted under established

Departmental practices that it should not be pursued.” Id. See Office of

Special Counsel, 64 Fed. Reg. at 37,038 (“[T]he regulations explicitly

acknowledge the possibility of review of specific decisions reached by

the Special Counsel.”). Moreover, whatever deference to the Special

Counsel’s initial decisions the Regulations suggest, the Attorney

General retains the authority to rescind those regulations, and thus

that deference, at any time. Accordingly, as the Supreme Court has

explained, “[w]hat is significant is that the [Special Counsel] ha[s] no

power to render a final decision on behalf of the United States unless



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permitted to do so by other Executive officers.” Edmond, 520 U.S. at

665 (Scalia, J.). Cf. United States v. Arthrex, Inc., 594 U.S. 1, 14 (2021)

(“What was significant to the outcome [in Edmund]—review by a

superior executive officer—is absent here: APJs have the power to

render a final decision on behalf of the United States’ without any such

review by their nominal superior or any other principal officer in the

Executive Branch.”) (cleaned up, emphasis added).

      The Attorney General’s oversight and control is backed by the

legal authority to “discipline[] or remove[]” the Special Counsel. 28

C.F.R. § 600.7(d). The regulations provide that at any time, “[t]he

Attorney General may remove a Special Counsel for misconduct,

dereliction of duty, incapacity, conflict of interest, or for other good

cause, including violation of Departmental policies.” Id. In addition,

each fiscal year the Attorney General must “determine whether the

investigation should continue” and thus may terminate the office for

any reason at regular intervals. Id. § 600.8(a)(2). As the Supreme Court

explained with respect to the Independent Counsel, “[a]lthough [she]

may not be ‘subordinate’ to the Attorney General (and the President)

insofar as she possesses a degree of independent discretion to exercise



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the powers delegated to her under the Act, the fact that she can be

removed by the Attorney General indicates that she is, to some degree,

‘inferior’ in rank and authority.” Morrison, 487 U.S. at 671.

     Moreover, unlike the Independent Counsel, whose “independent

discretion” and protection from removal arose from a congressional

statute that bound the Attorney General, the Special Counsel’s

independence arises from departmental regulations. Compare Ethics in

Government Act, Pub. L. 95-521, 92 Stat. 1867 (1978) (codified at 28

U.S.C. §§ 591-99 (1982)), with Office of Special Counsel, 64 Fed. Reg.

37,038-01 (July 9, 1999). As a result, the Special Counsel “is subject to

greater executive oversight because the limitations on the Attorney

General’s oversight and removal powers are in regulations that the

Attorney General can revise or repeal.” In re Grand Jury Investigation,

916 F.3d at 1052. See also Nixon, 418 U.S. at 696 (explaining

“possib[ility] for the Attorney General to amend or revoke the

regulation defining the Special Prosecutor’s authority”); In re Sealed

Case, 829 F.2d 50, 56 (D.C. Cir. 1987) (“[T]he Independent Counsel:

Iran/Contra serves only for so long as the March 5, 1987, regulation

remains in force. Subject to generally applicable procedural



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requirements, the Attorney General may rescind this regulation at any

time, thereby abolishing the Office of Independent Counsel:

Iran/Contra.”). Special Counsel Smith thus “effectively serves at the

pleasure of an Executive Branch officer who was appointed with the

advice and consent of the Senate” and “[t]he control thereby maintained

means the Special Counsel is an inferior officer.” In re Grand Jury

Investigation, 916 F.3d at 1052-53 (citations omitted). Every court to

have addressed the question has agreed with that straightforward

conclusion.

     The district court’s rationales for “express[ing] reservations” about

that unanimous consensus are mistaken. First, the district court stated

that the “Special Counsel Regulations impose almost no supervision or

direction over the Special Counsel” and “give him broad power to render

final decisions on behalf of the United States.” Op. at 72. As explained

above, neither assertion is correct. The district court did not dispute

that the Attorney General could reverse the Special Counsel’s decisions

but suggested that “[i]t is hard to see how this amounts to any

meaningful direction or supervision.” Id. at 75. The district court did

not deny that the Attorney General retains the legal authority to



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control and, if necessary, terminate the Special Counsel—either

pursuant to the Regulations or, if necessary, by rescinding the

Regulations. It offered no explanation why the Attorney General’s

policy-based decision to refrain from exercising that authority to control

the investigation and prosecution, as he similarly does with thousands

of other attorneys at the Department of Justice every day, converts the

Special Counsel’s constitutional status into that of a principal officer. It

cannot be the case that an inferior officer who, through his strict

compliance with the Department’s policies and practices, does nothing

that the Attorney General deems to warrant reversal is transformed by

that exemplary performance into a principal officer and thereby

stripped of all authority and thus suffers relegation to the dustheap of

unlawfully appointed officials. The Constitution cannot plausibly be

read to give officials so perverse a set of incentives.

      Second, the district court suggested that “the absence of at-will

removal is a key feature that—when combined with the absence of any

meaningful supervision or countermanding authority—likely could

transform Special Counsel Smith into a principal officer.” Id. at 76.

That suggestion rests on a fundamental misunderstanding. It is



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undisputed that the Attorney General could remove the Special Counsel

simply by sending a letter.5 The district court suggested this unfettered

removal power is irrelevant because it “must operate on the basis of

extant law . . . not on some possible future material change to the

removal limitations that has not happened.” Id. at 77-78. In its view,

the “slipperiness” of considering the Attorney General’s unexercised

power to rescind the Regulations “would not be permitted if the officer

were acting pursuant to statute; the court would review the extant law

in a fixed manner.” Id. at 78. The district court thereby mistakenly

treated the Attorney General’s policy decision to refrain from exercising

his oversight and removal powers as if it were a statutory constraint.

That mistake makes all the difference.

     Because the constraints on removing Special Counsel Smith arise

from regulations rather than a statute, he fundamentally differs from

the Independent Counsel at issue in Morrison. The Court in Morrison


5
 As the Appointment Order makes clear, the Attorney General did not
appoint Special Counsel Smith pursuant to the Regulations and made
those Regulations applicable only by force of the letter. See
Appointment Order at 2. As a result, the Attorney General need not
even rescind the Regulations to fire Special Counsel Smith. See Op. at
76-77 (agreeing the Attorney General could remove the Special Counsel
by “amend[ing] or revok[ing] the Appointment Order”).


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held that the Independent Counsel was an inferior officer

notwithstanding the statutory limitations on the Attorney General’s

power to remove her. And even if Justice Scalia’s dissenting opinion in

that case were now the law, Special Counsel Smith would remain an

inferior officer. As Justice Scalia explained, he would have rejected the

Court’s conclusion the Independent Counsel appointed pursuant to the

Ethics in Government Act was lawfully appointed as an inferior officer

because, in his view, that “statute does deprive the President of

substantial control over the prosecutory functions performed by the

independent counsel, and it does substantially affect the balance of

powers.” Morrison, 487 U.S. at 714-15 (Scalia, J., dissenting) (emphasis

added). The problem, according to Justice Scalia, was that Congress had

encroached upon the constitutional powers of the President by

establishing the Independent Counsel as an officer who could not be

removed but for cause. No such congressional encroachment is present

with respect to the Special Counsel here. There is no statute that

protects him from removal by the President or the Attorney General.

The Department of Justice has adopted regulations that embody its

policy decision about the Special Counsel’s removal, but the Attorney



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  General could unilaterally rescind those regulations at any time

  without the need for Congress to enact “some possible future material

  change to the removal limitations that has not happened.” Op. at 77-78.

  Accordingly, the separation of powers problem that Justice Scalia

  identified with respect to the Independent Counsel in Morrison is

  wholly absent here.

        The Special Counsel’s circumscribed role and jurisdiction, limited

  tenure, and effective control by the Attorney General render him an

  inferior officer. Accordingly, the Appointments Clause permits Congress

  to vest the Attorney General with the authority to appoint the Special

  Counsel.

II.   Congress Authorized the Attorney General to Appoint the
      Special Counsel

        Congress authorized the Attorney General to appoint the Special

  Counsel to investigate and potentially prosecute crimes. Section 533

  provides that “[t]he Attorney General may appoint officials . . . to detect

  and prosecute crimes against the United States.” 28 U.S.C. § 533(1). An

  “official” is “[s]omeone who holds or is invested with a public office; a

  person elected or appointed to carry out some portion of a government’s

  sovereign powers.” Official, Black’s Law Dictionary (11th ed. 2019). In


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the Appointment Order, the Attorney General appointed the Special

Counsel and “authorized” him to “conduct the ongoing investigation”

into “efforts to interfere with the lawful transfer of power following the

2020 presidential election or the certification of the Electoral College

vote held on or about January 6, 2021,” to “conduct the ongoing

investigation” involving Mr. Trump’s retention of documents, and

“authorized” him “to prosecute federal crimes arising from the

investigation of these matters.” Appointment Order, ¶¶ (b), (c), (d). The

plain text of Section 533 thus makes clear that it empowers the

Attorney General to appoint the Special Counsel to investigate and

prosecute the crimes enumerated in the Appointment Order including

those in this case.

      The district court’s contrary conclusion is incorrect. It first

attempted to justify its departure from this straightforward statutory

interpretation by claiming that the statutory term “official” does not

include “officers.” That atextual argument lacks merit. While

emphasizing the undisputed proposition that the terms are not

synonymous, the district court acknowledged their logical relationship:

“Put succinctly: while all officers may be officials, not all officials are



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officers.” Op. at 44. For that reason, as the district court conceded, “the

broader term ‘officials’ can operate as a catch-all phrase that includes

both officers and employees.” Id. The clear implication of the district

court’s concession is that Section 533 authorizes the Attorney General

to appoint all “officials,” including both those who are officers and those

who are not. Dozens of congressional statutes6 and the Supreme Court’s


6
 See, e.g., 2 U.S.C. § 1602 (“The term ‘covered executive branch official’
means—(A) the President; (B) the Vice President; (C) any officer or
employee, or any other individual functioning in the capacity of such an
officer or employee, in the Executive Office of the President; (D) any
officer or employee serving in a position in level I, II, III, IV, or V of the
Executive Schedule, as designated by statute or Executive order;
(E) any member of the uniformed services whose pay grade is at or
above O-7 under section 201 of Title 37; and (F) any officer or employee
serving in a position of a confidential, policy-determining, policy-
making, or policy-advocating character described in section
7511(b)(2)(B) of Title 5”); 5 U.S.C. § 3110 (“‘public official’ means an
officer (including the President and a Member of Congress), a member
of the uniformed service, an employee and any other individual . . . .”);
10 U.S.C. § 988(c) (“The term ‘covered official of the Department of
Defense’ means any of the following: (A) A civilian appointed to a
position in the Department of Defense by the President, by and with the
advice and consent of the Senate.”); 18 U.S.C. § 201 (“‘public official’
means Member of Congress, Delegate, or Resident Commissioner,
either before or after he has qualified, or an officer or employee or
person acting for or on behalf of the United States, or any department,
agency, or branch of Government thereof”); 18 U.S.C. § 219 (same); 22
U.S.C. § 285a (“(a) The President shall appoint--(1) a Governor of the
Bank and an alternate for the Governor--(A) by and with the advice and
consent of the Senate; or (B) from among individuals serving as officials
required by law to be appointed by and with the advice and consent of

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cases confirm that broad meaning of the term “officials.” See, e.g., Lucia,

585 U.S. at 241 (“The Appointments Clause of the Constitution lays out

the permissible methods of appointing ‘Officers of the United States,’ a

class of government officials distinct from mere employees.”) (quoting

Art. II, § 2, cl. 2).

      The district court’s attempt to evade that conclusion fails. Citing

the noscitur a sociis canon, it suggested that Section 533’s reference to

“officials” cannot include officers because (it assumed without

argument) subsections 533(2)-(4) list non-officer roles. This suggestion

falters as a matter of logic. Under its ordinary meaning, the district

court conceded, the term “officials” includes both officers and non-officer

employees. Even if the district court were correct in assuming that

subsections 533(2)-(4) cover only non-officer employees, it makes perfect

sense that Congress would use the broad term “officials” to cover both



the Senate.”); 22 U.S.C. § 2651a(d) (referring to “officials of the
Department of State who are otherwise authorized to be appointed by
the President, by and with the advice and consent of the Senate”); 26
U.S.C. § 7611 (“The term ‘appropriate high-level Treasury official’
means the Secretary of the Treasury or any delegate of the Secretary
whose rank is no lower than that of a principal Internal Revenue officer
for an internal revenue region”); 28 U.S.C. § 1715(a)(1)(A) (“the term
‘appropriate Federal official’ means--(A) the Attorney General of the
United States”).

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the employees appointed under those subsections and the officers

appointed under subsection 533(1). Indeed, if Congress had meant

Section 533 to authorize only the hiring of non-officer employees, it

could have drafted the statute to say: “The Attorney General may

appoint employees” listed in each of the statute’s subsections. The fact

that it used the broader term “officials” indicates it intended the statute

to have a broader scope.

     The district court next suggested that Section 533 could not

authorize the Attorney General to appoint the Special Counsel because

the chapter of the United States Code in which that provision is codified

is entitled “Federal Bureau of Investigation.” This argument is

fundamentally mistaken. The district court first incorrectly elevated the

statute’s heading over its text. As the Supreme Court has emphasized, a

provision’s title is “not meant to take the place of the detailed provisions

of the text.” Lawson v. FMR LLC, 571 U.S. 429, 446 (2014). See also

Porter v. Nussle, 534 U.S. 516, 527-28 (2002) (“[T]he title of a statute

and the heading of a section are tools available for the resolution of a

doubt about the meaning of a statute.”) (emphasis added, quotation

marks and citation omitted); Trainmen v. Baltimore & Ohio R. Co., 331



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U.S. 519, 528-529 (1947) (adopting “the wise rule that the title of a

statute and the heading of a section cannot limit the plain meaning of

the text”). And “where, as here, the statute’s language is plain, the sole

function of the courts is to enforce it according to its terms.” United

States v. Ron Pair Enters., Inc., 489 U.S. 235, 241 (1989) (cleaned up).

     The enactment history of Section 533 confirms that its placement

in a particular chapter of the United States Code cannot limit the broad

meaning of its plain text. When Congress created Title 28, in which

Section 533 is now codified, it specified that “[n]o inference of legislative

construction is to be drawn by reason of the chapter in Title 28 . . . in

which any section is placed, nor by reason of the catchlines used in such

title.” Act of June 25, 1948, Pub. L. No. 80-773, § 33, ch. 646, 62 Stat.

991. See Ex parte Collett, 337 U.S. 55, 59 (1949) (rejecting “contention”

that provision’s placement in Code narrowed plain text because “we

would be required completely to disregard the Congressional

admonition that ‘No inference of a legislative construction is to be

drawn by reason of the chapter in Title 28 in which any section is

placed’”). And when Congress subsequently enacted the provision that

is now codified as Section 533, it similarly provided that “[a]n inference



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of a legislative construction is not to be drawn by reason of the location

in the United States Code of a provision enacted by this Act or by

reason of the caption or catchline thereof.” Act of Sept. 6, 1966, Pub. L.

No. 89-554, § 7(e), 80 Stat. 378, 631. Congress thus made clear that

Section 533’s placement within chapter 33 of title 28 of the United

States Code cannot limit the scope of its text. The district court’s

contrary conclusion cannot stand in the face of that clear congressional

command. Accordingly, the plain text reading of Section 533 must

prevail: it authorizes the Attorney General to appoint any official within

the Department of Justice, not just those within the Federal Bureau of

Investigation.

     The plain text of Section 533 confirms that conclusion. It

authorizes the Attorney General to appoint “officials . . . to detect and

prosecute crimes against the United States.” 28 U.S.C. § 533(1)

(emphasis added). By regulation, “FBI officials and agents” perform

investigations and collect evidence, while the Criminal Division and

other litigating components of the Department of Justice “prosecute

crimes.” Compare 28 C.F.R. § 0.85 (listing “General functions” of the

Federal Bureau of Investigation, including “[i]nvestigat[ing] violations



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of the laws, including the criminal drug laws, of the United States and

collect[ing] evidence” but not including prosecuting crimes), with id.

§ 0.55 (listing “General functions” of Criminal Division, including

“[p]rosecutions for Federal crimes not otherwise specifically assigned”).

By its plain text, Section 533 thus authorizes the Attorney General to

appoint officials to prosecute crimes who, by law and by definition, are

not part of the Federal Bureau of Investigation.

     In any event, even if the district court’s limitation on Section 533

to appointing officials in the FBI were correct, it would be irrelevant.

The district court never explained why the Special Counsel

appointment would be unlawful if he resided within the Federal Bureau

of Investigation on the organizational chart of the Department of

Justice. Moreover, Section 515(a) removes any doubt that the Attorney

General can direct “any attorney” within Department of Justice,

including those within the Federal Bureau of Investigation, to prosecute

particular crimes. That section provides that “[t]he Attorney General or

any other officer of the Department of Justice, or any attorney specially

appointed by the Attorney General under law, may, when specifically

directed by the Attorney General, conduct any kind of legal proceeding,



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civil or criminal.” 28 U.S.C. § 515(a). As articulated above, the Special

Counsel is an “attorney specially appointed by the Attorney General

under law” pursuant to Section 533. Attorney General Garland

indisputably “specifically directed” him to “conduct” this “criminal”

“legal proceeding.” See Appointment Order. Accordingly, even on the

district court’s improperly narrow reading of Section 533, it simply does

not matter whether the Special Counsel was appointed to be an official

within the FBI. The Attorney General had the legal authority to

appoint the Special Counsel, and the Special Counsel has legal

authority to prosecute this case, either way.

     The Supreme Court and the D.C. Circuit’s cases confirm this

straightforward statutory authority. The Supreme Court affirmed the

Attorney General’s authority to appoint a special counsel in Nixon, 418

U.S. 683. The Court explained that Congress “vested in [the Attorney

General] the power to appoint subordinate officers to assist him in the

discharge of his duties.” Id. at 694 (citing 28 U.S.C. §§ 509, 510, 515,

533). As the D.C. Circuit recently recognized, the Supreme Court’s

“binding precedent [thus] establishes that Congress has ‘by law’ vested

authority in the Attorney General to appoint the Special Counsel as an



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inferior officer.” In re Grand Jury Investigation, 916 F.3d at 1054. For

this Court to conclude to contrary would thus create a conflict between

the Eleventh Circuit and the D.C. Circuit that would require the

Supreme Court to intervene.

     The district court justified its dramatic departure from binding

precedent by suggesting that Nixon’s statutory holding is mere dicta.

That suggestion is incorrect. The Court in Nixon faced the question

whether the president could invoke executive privilege to defy a

subpoena issued by the Watergate special prosecutor. The Court

determined that this conflict gave rise to a justiciable case between an

“independent Special Prosecutor with his asserted need for the

subpoenaed material” and a “President with his steadfast assertion of

privilege against disclosure.” Id. at 697. The Court based that

determination on its conclusion that the Department of Justice

“regulation gives the Special Prosecutor explicit power to contest the

invocation of executive privilege in the process of seeking evidence

deemed relevant to the performance of these specially delegated duties.

So long as this regulation is extant it has the force of law.” Id. at 694-95

(citing 38 Fed. Reg. 30,739, as amended by 38 Fed. Reg. 32,805)



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(emphasis added). That regulation had the “force of law” only because,

as the Court’s reliance on Section 533 and its adjoining provisions

confirms, Congress enacted statutes that authorized the Attorney

General to appoint the Special Counsel.

      The existence of that justiciable controversy thus depended on the

lawfulness of the appointment of the special prosecutor; that is precisely

why the Supreme Court made a point to state the statutory authority

on which that appointment was based. See In re Grand Jury

Investigation, 916 F.3d at 1053 (Attorney General’s statutory authority

to appoint the Special Counsel “a necessary antecedent to determining

whether the regulations [under which the special prosecutor was

appointed] were valid,” which in turn “was necessary to the decision

that a justiciable controversy existed”). Accordingly, the Supreme

Court’s statement that Section 533 authorized the Attorney General to

appoint the special prosecutor was not mere dicta, but binding

precedent for lower courts to follow. See, e.g., Ramos v. Louisiana, 590

U.S. 83, 124 (2020) (Kavanaugh, J., concurring) (“[V]ertical stare decisis

is absolute, as it must be in a hierarchical system with ‘one supreme

Court.’”) (quoting U. S. Const., art. III, § 1).



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     Because the plain text of the statute and binding authority from

the Supreme Court establish that Congress authorized Attorney

General Garland to appoint the Special Counsel, the Court should hold

that the Special Counsel’s appointment is lawful.

                            CONCLUSION

     For the reasons stated above, the Court should reverse the

judgment below. In addition, amici urge this Court to exercise its

supervisory authority under 28 U.S.C. § 2106 to reassign the matter to

another district judge on remand.7

                                  Respectfully submitted,

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7 This Court may reassign the matter sua sponte. See Ligon v. City of

New York, 736 F.3d 118, 129 (2d Cir. 2013), vacated in part, 743 F.3d
362 (2d Cir. 2014) (“In numerous cases in recent years, we have found it
appropriate to reassign a case without the issue having been raised or
briefed by the parties or considered by the district judge.”).


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                 CERTIFICATE OF COMPLIANCE

     1. This brief complies with the type-volume limit of Federal Rule

of Appellate Procedure 32(a)(7)(B)(i) because, excluding the parts of the

brief exempted by Federal Rule of Appellate Procedure 32(a)(7)(B)(iii)

and Eleventh Circuit Rule 32-4, and inclusive of Attachment – List of

Amici, this brief contains 7,052 words.

     2. This brief complies with the typeface requirements of Federal

Rule of Appellate Procedure 32(a)(5) and the type-style requirements of

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been prepared in a proportionally spaced typeface using Microsoft Word

in font size 14, Century Schoolbook.



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                     CERTIFICATE OF SERVICE

     I hereby certify that on September 3, 2024, a true and correct copy

of the foregoing document was electronically filed through CM/ECF.

Notice of this filing will be sent by e-mail to all parties by operation of

the Court’s electronic filing system.



September 3, 2024



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Action is a 501(c)(4) focused on defeating election sabotage and

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